




 











&nbsp;

IN THE

TENTH COURT OF APPEALS

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No. 10-08-00259-CV

&nbsp;

In re
Donna Murray

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Original Proceeding

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ORDER



&nbsp;

In this original proceeding, the trial court ruled
that Donna Murray, Justice of the Peace, Precinct 3, Navarro County, should be suspended without pay, despite a previous order from the State Commission on
Judicial Conduct suspending Murray with pay.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In her first issue, Murray contends
that the trial court abused its discretion by denying her first amended motion
to dismiss for lack of jurisdiction because the Commission possesses primary
jurisdiction over this case.&nbsp; In her second issue, Murray argues that the trial
court abused its discretion by denying her motion to abate or in the
alternative stay proceedings because, even if the Commission and the trial
court maintain concurrent jurisdiction, the trial court must allow the Commission
to first render a decision.

Because these issues
are of both public and private significance, we invite any other interested
person or organization (including State entities such as the Office of the
Attorney General, the State Commission on Judicial Conduct, and the Justices of
the Peace and Constables Association of Texas) to submit an amicus brief on
them.[1]&nbsp; See
Tex. R. App. P. 11 (providing for
the receipt of amicus briefs); see also Hix v. Robertson, 193 S.W.3d 928 (Tex. App.—Waco, order)
(per curiam), disp. on merits, 211 S.W.3d 423 (Tex. App.—Waco
2006, pet. denied).&nbsp; Any amicus brief
shall be tendered within 21 days after the date of this Order.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Any reply to an amicus brief shall be
filed within 7 days after the amicus brief is received by the Court.

&nbsp;

PER CURIAM

&nbsp;

Before Justice Vance, and

Justice
Reyna

Order issued and filed August
1, 2008

Publish

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[1] &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We have found two cases in which
the Texas Supreme Court requested amicus briefing.&nbsp; Brown v. De La Cruz,
156 S.W.3d 560, 566 (Tex. 2004); City of San Antonio v. City of Boerne, 111 S.W.3d 22, 30 (Tex. 2003).








erance
of the evidence that it is clearly wrong and unjust.  See Cain v. Bain, 709 S.W.2d 175, 176 (Tex.
1986).  The jury is the sole judge of the credibility of the witnesses and the weight to be given
their testimony.  Rego Co. v. Brannon, 682 S.W.2d 677, 680 (Tex. App.—Houston [1st Dist.]
1984, writ ref'd n.r.e.).  We may not substitute our opinion for that of the jury merely because
we would have reached a different result.  See Pool v. Ford Motor Co., 715 S.W.2d 629, 634
(Tex. 1986).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Tina and her witnesses testified to facts that would favor a verdict in her favor.  Likewise,
Larry and his witnesses testified to facts that would favor a verdict in his favor.  The jury was
given the responsibility of resolving a disputed fact issue—which parent should, in the children's
best interest, be appointed managing conservator.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Tina and her witnesses testified to Larry's unstable work history during the marriage,
including having to file bankruptcy; his leaving employment with Tina's parents' company over
unauthorized expenses on the company's credit card; and his failure to pay income taxes for
several years.  They testified that Larry had spent very little time with the children prior to the
separation and that Tina was their primary caretaker.  Tina testified that Larry had been on an
antidepressant for ten years, spent large amounts of money gambling, and had criticized her weight
and appearance after the birth of the youngest child.  Tina testified that she began a relationship
with a co-worker after the separation but that she did not see him around the children.  She
admitted that, shortly after the separation, she had shared a marijuana cigarette with her sister and
a friend on a weekend that Larry had the children.  She testified that it was an isolated event and
had not occurred again since that date. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Larry and his witnesses testified that he participated in raising the children, that Tina did not
keep a clean house despite having someone come in to clean, and that Tina did not discipline Jill
well.  Larry testified that Tina had been agreeable to joint custody and had written to his attorney
confirming her agreement, but had later changed her mind.  He testified to his suspicions that Tina
was involved with a man before the separation, introducing phone records showing numerous calls
from Tina to the man prior to the separation.  He testified that he had restructured his business,
allowing him to work from his home so that he could watch the children if he were awarded
managing conservatorship. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Debra Lucas conducted a court-ordered social study.  She testified that she had some concerns
regarding extramarital relationships prior to a legal divorce, but stated that the children had to her
knowledge never been directly involved in the situation.  She also felt that the marijuana incident
was an isolated one.  Lucas recommended joint custody between the parents with the children
living with Tina during the school year and with Larry during the summer months.  Lucas testified
that if joint conservatorship were not a possibility, Tina should be named managing conservator.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Dr. Kit Harrison, a licensed psychologist, testified that he had counselled both Jill and Tina. 
He testified that Larry had not participated in counselling, although he had been asked. 
Consequently he was unable to give an opinion on Larry's suitability as a parent.  As to Tina,
Harrison testified that she would be a suitable parent "with assistance."  He had no concern with
her being managing, possessory, or joint managing conservator.  "She's able to fulfill any role in
that area.  I think she would need assistance to be a sole managing conservator, and I would like
her to get assistance just dealing with the child, regardless of her actual, formal role with the
child."
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Both parties attempted to show the other side was putting inappropriate pressure on the
children.  Tina elicited testimony that Jill had tremendous anxiety because her father was
pressuring her to take sides in the custody battle.  Larry sought testimony that Jill was depressed
and upset with her mother's relationship with another man.  In short, the testimony of Lucas and
Harrison reveals what is frequently found in divorce and custody situations—children who feel
caught in the middle of their parents' disputes. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In determining managing conservatorship, the best interest of the child is always the primary
consideration.  Tex. Fam. Code Ann. § 14.07(a) (Vernon Supp. 1992).   The trier of fact must
consider the qualifications of the respective parents without regard to the sex of the parent.  Id.
§ 14.01(c)(1) (Vernon Supp. 1992).  The jury was instructed on the best interest of the children
and on making its determination without regard to the sex of the parents.  The jury is the sole
judge of the credibility of the witnesses and the weight to be given their testimony.  Rego Co., 682
S.W.2d at 680.  We find more than a scintilla of evidence supporting the jury's verdict.  Davis,
752 S.W.2d at 522.  We do not find that the jury's finding that Larry should be sole managing
conservator of the children is so contrary to the great weight and preponderance of the evidence
that it is clearly wrong or unjust.  See Cain, 709 S.W.2d at 176.  We overrule points one through
five.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In point six, Tina complains that the court erred in excluding evidence offered to show Larry's
character.  She sought to testify regarding a robbery Larry had allegedly committed as a sixteen-year-old for which he spent forty days in jail.  Tina offered the evidence to "show a pattern or a
course of conduct throughout his life of unethical, dishonest type activities."  The court determined
the evidence was irrelevant.  The court enjoys wide discretion in determining the admissibility of
evidence.  Garza v. Cole, 753 S.W.2d 245, 247 (Tex. App.—Houston [14th Dist.] 1988, writ
ref'd n.r.e.); Tex. R. Civ. Evid. 104.  We cannot say that the court's refusal to admit evidence
of events that occurred when Larry was sixteen affected a substantial right of a party.  See Tex.
R. Civ. Evid. 103(a).  We overrule point five.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In point six, Tina complains that the court erred in allowing evidence of one prior instance
of her use of marijuana.  Tina testified that she shared one marijuana cigarette with her sister and
a friend at the beach shortly after the separation.  The children were with Larry on that date and
were not exposed to the marijuana use.  No other evidence was admitted showing drug use.    
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Evidence is relevant if it has any tendency to make the existence of any fact that is of
consequence to the determination of the action more or less probable than it would be without the
evidence.  Id. 401.  Evidence which is not relevant is inadmissible.  Id. 402.  Some evidence,
although relevant, may be excluded if its probative value is substantially outweighed by the danger
of unfair prejudice.  Id. 403.  Tina objected that the prejudicial effect of one isolated incidence of
marijuana use outside the presence of the children outweighed  any probative value of the
evidence.  Id.   
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;To reverse a judgment based on the admission of evidence, the complainant must show (1)
that the court erred in admitting the evidence and (2) that the error was reasonably calculated to
cause and probably did cause the rendition of an improper judgment in the case.  Tex. R. App. P.
81(b)(1).  Both Lucas and Harrison testified that the marijuana incident would not prevent Tina
from being named managing conservator.  Although the court may have erred in admitting the
evidence, in light of the testimony of Lucas and Harrison, we do not find that it caused an
improper judgment.  We overrule point six.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the judgment.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;BILL VANCE
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice

Before Justice Cummings and
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice Vance 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;(Chief Justice Thomas not participating)
Affirmed
Opinion delivered and filed December 16, 1992
Do not publish 


